 8:06-cr-00411-LSC-TDT            Doc # 57   Filed: 04/10/07   Page 1 of 3 - Page ID # 147




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )      8:06CR411
       vs.                                         )
                                                   )      PRELIMINARY ORDER
MARK HUDSON,                                       )      OF FORFEITURE
BUFFIE KACKLEY,                                    )
                                                   )
                     Defendants.                   )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 53). The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into a Plea Agreement, whereby they have agreed

to plead guilty to Counts I and III of said Indictment. Count I of said Indictment charges the

Defendants with conspiracy to distribute cocaine base, a violation of 21 U.S.C. § 846.

Count III of said Indictment charges the Defendants, Buffie Lynn Kackley, and Mark

Anthony Hudson, with using $113.00 and $611.00, respectively, in United States currency

to facilitate the commission of the conspiracy and charges said personal properties are

derived from proceeds obtained directly or indirectly as a result of the commission of the

conspiracy.

       2. By virtue of said plea of guilty, the Defendant, Buffie Lynn Kackley, forfeits her

interest in the subject property of $113.00, and the Defendant, Mark Anthony Hudson,

forfeits his interest in the subject property of $611.00. The United States should be entitled

to possession of said properties, pursuant to 21 U.S.C. § 853.
 8:06-cr-00411-LSC-TDT         Doc # 57     Filed: 04/10/07     Page 2 of 3 - Page ID # 148




       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 53) is hereby sustained.

       B. Based upon Count III of the Indictment and the Defendants’ pleas of guilty, the

United States Marshal for the District of Nebraska ("Marshal") is hereby authorized to seize

the following-described properties: $113.00 and $611.00 in United States currency

       C. The Defendants’ interests in said properties, as described above, are hereby

forfeited to the United States of America for disposition in accordance with the law, subject

to the provisions of 21 U.S.C. § 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the Marshal in his

secure custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, notice of the Marshal's intent to

dispose of the properties in such manner as the Attorney General may direct, and notice

that any person, other than the Defendants, having or claiming a legal interest in any of the

subject forfeited properties must file a Petition with the court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.

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 8:06-cr-00411-LSC-TDT        Doc # 57     Filed: 04/10/07    Page 3 of 3 - Page ID # 149




       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 10th day of April, 2007.

                                                  BY THE COURT:

                                                  s/Laurie Smith Camp
                                                  United States District Judge




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